Case 3:20-cv-08123-JJT Document 42-1 Filed 12/25/20 Page 1 of 10




                                    EXHIBIT LIST


1. Live chat, Nov. 30, with Santa Fe County Assessor about the Land


2. Press


      2.1 Beaujon, A.; Washingtonian, Dec. 7, 2020; A Guy Who Bombed Out of

             Journalism Found a Famous Buried Treasure.

      2.2 Vincent, I.; New York Post, Dec. 12, 2020; Treasure hunters claim finder’s lack

             of details raises ‘red flags.’ (This is a new, different article from the

             previous New York Post Exhibit — it is fresh public skepticism).

      2.3 Andrew, S.; CNN, Dec. 7, 2020; The man who found Forrest Fenn's treasure

             wanted to be anonymous. A lawsuit compelled him to go public.

      2.4 Barbarisi, D.; Outside, Dec. 7, 2020; The Man Who Found Forrest Fenn's

             Treasure.


3. Bemused Plaintiff, May 26, filing the Original Complaint by a curious dropbox while

pandemic measures prevailed at Phoenix’s Federal courthouse, deserted except for the

U. S. Marshals




                                             7
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          EXHIBIT
         PARTY SUB
          REPLY 1

 LIVE WEB CHAT
 WITH SANTA FE
COUNTY ASSESSOR
Case 3:20-cv-08123-JJT Document 42-1 Filed 12/25/20 Page 3 of 10
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     EXHIBIT
    PARTY SUB
     REPLY 2

                     PRESS
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           A Guy Who Bombed Out of Journalism
                                                                                                                                     2               Wonder Woman Kicked
           Found a Famous Buried Treasure                                                                                                            So Much Butt at
           Former Georgetown student Jack Stuef embarrassed Wonkette                                                                                 Landmark Mall That
                                                                                                                                                     They Had to Turn It Into
           and BuzzFeed, and left the news business. Then he found Forrest                                                                           a Hospital
           Fenn's famous chest.

           WRITTEN BY ANDREW BEAUJON                  $ % | PUBLISHED ON D E C E M B E R 7 , 2 0 2 0                                 3               Please Do Not Call This
                                                                                                                                                     DC Bookstore Looking
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           Tens of thousands of people have searched for Forrest Fenn’s buried treasure. Some
           have died. Fenn, an art dealer and writer from New Mexico, announced in 2010 that
           he had hidden a chest somewhere in the Rocky Mountains filled with artifacts worth                                            &      $      '        (        %
           more than a million dollars. This past June, he confirmed his treasure had been found.
           He died September 7. Later that month, a Medium post authored anonymously by someone
           who said they’d found the treasure offered photographs of it as proof.


           On Monday, Outside reported that “The Finder” is Jack Stuef. Stuef has since put his
           name on his Medium page and addressed a lawsuit against him filed by an apparently
           disappointed treasure-hunter, which he describes as “frivolous.”


           Before his adventures as a treasure hunter, Stuef enjoyed some adventures in the
           field of journalism that didn’t end nearly as well. Stuef edited the satirical Georgetown
           Heckler while he went to university in DC. There, he was obliged to attend a forum
           after students were outraged by what the Hoya described as “articles deemed racially
           insensitive.”


           Stuef went on to contribute to the Onion, The Cut, Wonkette, and BuzzFeed. As
           Daniel Barbarisi reports for Outside, those last two stints led to some significant
           trouble in journo-land: Stuef left Wonkette after he wrote a piece about Trig Palin so
           cruel that it brought his tenure there to a close in 2011. The following year, Stuef
           wrote an article about the cartoonist Matthew Inman that led to an apology from
           BuzzFeed.


           “I don’t think those were giant incidents,” Stuef tells Barbarisi. “I regret them, but I
           don’t think about them very often. It was a long time ago now.” He left journalism and
           went to medical school before becoming a full-time treasure hunter, Outside reports.
           That decision appears to have worked out great for him.




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              Andrew Beaujon
              SENIOR EDITOR

              Andrew Beaujon joined Washingtonian in late 2014. He was previously
              with the Poynter Institute, TBD.com, and Washington City Paper. His
              book A Bigger Field Awaits Us: The Scottish Soccer Team That Fought
              the Great War was published in 2018. He lives in Del Ray.


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                   NEWS                                                                                                                       ON NYPOST.COM

                  Treasure hunters claim finder’s                                                                                                                                   71,339


                  lack of details raises ‘red flags’
                  By Isabel Vincent                                                         December 12, 2020 | 1:18pm | Updated




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                                                                                                                                                                                    46,041




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                                                                                                                                                                                    34,751



                  Treasure hunter Jack Stuef and Forrest Fenn.
                  Jack Stuef


                                                                 A Michigan medical student who came forward last
                  MORE ON:                                       week as the finder of a storied $2 million treasure
                  TREASURE                                       refuses to say how he cracked the mystery or reveal                          Deborah Birx reveals why she took
                  Birdwatcher discovers $1M                      the exact location of the hidden cache of gold coins                         Thanksgiving trip despite travel
                  worth of ancient Celtic gold                   and jewelry.                                                                 warnings
                  coins
                                                                 The lack of detail in Jack Stuef’s story, published in a
                  British ‘Indiana Jones’                        first-person account Monday in The Medium, is
                  claims the legendary Holy                      frustrating a group of ardent treasure seekers, many
                  Grail is in England
                                                                 of whom emptied their bank accounts and risked
                                                                 their lives to find the bronze chest hidden by                               ELECTION 2020
                  Treasure hunter stuck in jail
                                                                 enigmatic antiques dealer Forrest Fenn in 2010.
                  for refusing to reveal
                  location of loot
                                                                 “I was almost relieved when I saw his picture
                                                                 because I felt finally we could put all of this to rest,”
                  British gardeners hitting
                  the archaeological jackpot                     said Miriam de Fronzo, a massage therapist from
                  during quarantine                              Florida who spent nearly four years poring over a
                                                                 poem by Fenn that contained clues to the treasure’s
                                                                 whereabouts. She made four trips to New Mexico to
                  search for the chest.
                                                                                                                                              Ted Cruz proved that GOP won't
                                                                                                                                              simply return to Reaganism after
                  “But actually his explanation has raised a lot of red flags,” she said, adding that she has                                 Trump
                  sent several e-mails to Stuef, begging him to make public his “solve” of Fenn’s poem. So
                  far, he has refused, de Fronzo told The Post.                                                                               Woman busted for sending photos of
                                                                                                                                              bloody corpse to Michigan election
                  Stuef, who claims he found the treasure in June after two years of searching, did not                                       official
                  disclose how he deciphered Fenn’s clues, and has said he will not reveal the exact
                  location of his find, which he claims was somewhere in Wyoming.                                                             Buttigieg faces conflict with big
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                  “If I were to reveal where the treasure was, the natural wonder of place that Forrest held
                  so dear will be destroyed by people seeking treasure they hope I dropped on my way                                          Kick off 2021 with new designer
                  out or Forrest on his way in,” wrote Stuef in the Medium article, which featured a                                          kicks, authenticated by eBay
                  photograph of him sitting next to Fenn. “Adding to this risk is the fact that Forrest never
                                                                                                                                              You can get 50 percent off Madewell
                  wrote up an inventory of what was in the chest at the time he secreted it, so I can’t
                                                                                                                                              outerwear, accessories and more
                  prove to anyone that no item is missing from the chest.”                                                                    during its holiday sale

                  He said he only came forward because a lawsuit filed by a fellow treasure seeker was                                        Here are the best deals from the
                  about to make his name public. Chicago lawyer Barbara Andersen claimed in a lawsuit                                         Wayfair End-Of-Year Clearance sale
                  filed in New Mexico federal court in June that whomever found the treasure had hacked
                  her emails and texts to do so — a claim that Stuef vehemently denied.

                  But some diehard searchers aren’t buying Steuf’s explanation.

                  “Forrest wanted to end the chase so
                  he had to figure out how to do it
                                                           This map of the Rocky Mountains featuring Forrest
                  without anyone getting mad,” wrote       Fenn’s poem was included in the back of his book
                  Terry Kasberg, a searcher on Treasures Too Far To Walk.
                  Galore, a Facebook group devoted to the Fenn treasure. “The chest now sits in a vault
                  in Santa Fe. This person can’t answer any questions about anything concerning the
                  clues because he doesn’t know so he uses the excuse that the location cannot be
                  disclosed due to it being trashed.”

                  Stuef did not return The Post’s request for comment.
                                                                                                                                              NOW ON
                  Fenn’s family confirmed to Outside Magazine earlier this week that Stuef is indeed the
                  finder. In June, Fenn announced the treasure had been found by a man from “back east”
                  but that he wanted to remain anonymous.

                  Fenn, an art and antiques dealer based in Santa Fe, died in September. The hunt for
                  Fenn’s El Dorado attracted more than 350,000 searchers and resulted in five deaths
                  over the last decade.


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The man who found Forrest Fenn's treasure
wanted to be anonymous. A lawsuit compelled
him to go public
Scottie Andrew, CNN • Updated 7th December 2020




(CNN) — The treasure hunter who solved Forrest Fenn's famed treasure hunt in the Rocky
Mountains has come forward -- though if he'd had his way, he would've stayed anonymous.

Jack Stuef, a 32-year-old medical student from Michigan, revealed that he found Fenn's
treasure chest -- a claim Fenn's family independently veriﬁed with Outside magazine,
which interviewed Stuef. He disclosed his identity because a recent lawsuit would make his
name public, he said.

He's not willing, though, to part with the treasure's secrets and the clues that led him to it.

Fenn's infamous treasure hunt began 10 years ago, when the author published a cryptic
poem in his autobiography meant to lead prospective explorers to the spot in the Wyoming
wilderness where his treasure chest was hidden. Fenn estimated over 350,000 people
searched for the chest, and a few even died on their journey.



Related                          A treasure chest hidden in the Rocky Mountains for a decade
content                          has finally been found


Stuef spent two years searching for Fenn's treasure, which included gold, jewelry and other
artifacts believed to total over $1 million. He ﬁnally found it in the Wyoming wilderness in
June.

Fenn kept Stuef's identity secret then, at Stuef's request. He described Stuef only as a man
from "back East."

Stuef said he was worried about the safety of his family. "For the past six months, I have
remained anonymous, not because I have anything to hide, but because Forrest and his
family endured stalkers, death threats, home invasions, frivolous lawsuits, and a potential
kidnapping -- all at the hands of people with delusions related to his treasure," Stuef wrote
in a Medium post. "I don't want those things to happen to me and my family."



Related                      Forrest Fenn, who sent explorers on a famed Rocky Mountain
content                      treasure hunt, dies at 90


Shortly before Fenn's death in September, a woman ﬁled a suit and said whoever found
the treasure had done so by hacking her texts and emails, Stuef told Outside magazine.
Since Fenn has since died, his subpoena can be transferred to his heirs, who were formerly
the only people who knew Stuef had found the treasure.

Stuef denied the charges to Outside magazine.

Since ﬁnding the treasure, Stuef said in his Medium post that he moved to a "more secure
building with guards and multiple levels of security" to protect himself. He doesn't have the
treasure, either -- it's in a vault in New Mexico, where it will remain until he sells it.

Stuef said he'll never reveal the location where he found the chest to preserve the wildlife
there and prevent other explorers from following his trail, which could be dangerous.

Unlike Fenn, who welcomed the attention from fellow treasure hunters, Stuef said he's not
looking to meet with anyone regarding his ﬁnd. Despite the lawsuit and the potential for a
negative response from his fellow explorers, Stuef said he's "optimistic that this experience
will still be a positive chapter in my life."



CNN's Alicia Lee contributed to this report.




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                                                                                                Daniel Barbarisi


                                                                                                  Dec 7, 2020




                                                 The Man Who Found
                                                Forrest Fenn's Treasure
                                              The decade-long hunt captured the world's attention, but when it
                                            ﬁnally ended in June, everyone still wanted to know: Who had solved
                                            the mystery? This week, as legal proceedings threaten his anonymity,
                                                  a 32-year-old medical student is ready to go on the record.




                                            I     t took two months of correspondence before the man who found Forrest
                                                  Fenn’s treasure told me his name.


                                           We’d been emailing since September, and I honestly didn’t expect to ever know
                                           who he really was. I was fine with that; as a fellow treasure hunter, I completely
                                           understood his desire for anonymity.


                                           Since 2017, I had been pursuing Fenn’s treasure, too, becoming a kinda-sorta
                                           searcher in order to tell the story of Fenn’s hunt in my upcoming book Chasing
                                           the Thrill, to be published by Knopf in June. I’d been in the trenches, read Fenn’s
                                           clue-filled poem over and over, ended up in places I probably shouldn’t have
                                           been, and gone to places where other people died trying to find it.


                                           A decade ago, Fenn hid his treasure chest, containing gold and other valuables
                                           estimated to be worth at least a million dollars, somewhere in the Rocky
                                           Mountains. Not long after, he published a memoir called The Thrill of the Chase,
                                           which included a mysterious 24-line poem that, if solved, would lead searchers to
                                           the treasure. Fenn had suggested that the loot was secreted away at the place
                                           where he had envisioned lying down to die, back when he’d believed a 1988
                                           cancer diagnosis was terminal. Since the hunt began in 2010, many thousands of
                                           searchers had gone out in pursuit—at least five of them losing their lives in the
                                           process—and the chase became an international story.


                                           So many people had invested and sacrificed so much in pursuit of Fenn’s treasure
                                           that it was possible the finder would face threats, be they legal or physical, from
                                           people who resented them or wished them ill.


                                           And that was exactly what was beginning to play out.


                                           This past June, Fenn announced that the treasure had been found by a man from
                                           “back east” who wanted to remain anonymous—even, once we were in contact, to
                                           me. So despite exchanging dozens of emails with the finder, and discussing the
                                           details of the chest and what locating it meant to him, I never pressed him about
                                           who he was, and he never volunteered.


                                           Last week, he told me the situation had changed. Fenn had been targeted by
                                           lawsuits both before and after the chest was found, by hunters claiming that the
                                           treasure was rightfully theirs. One of the lawsuits, filed immediately after Fenn
                                           announced the hunt was over, also targets the unknown finder as a defendant,
                                           claiming that he had stolen the plaintiff’s solve and used it to find the chest. That
                                           litigation had advanced to a procedural stage during which the finder expected
                                           his name would likely come out in court. So while he remained guarded about his
                                           solve and the location where he discovered the treasure, he now didn’t mind
                                           telling me who he really was.


                                           And that’s when I learned that a 32-year-old Michigan native and medical
                                           student was the person who had finally solved Fenn’s poem. His name is Jack
                                           Stuef.




                                           Stuef first heard about Fenn’s chase on Twitter in early 2018, and couldn’t
                                           believe it had escaped his notice for eight whole years. He was instantly hooked.


                                           “I’ve probably thought about it for at least a couple hours a day, every day, since I
                                           learned about it,” Stuef says. “Every day.”


                                           The treasure hunt immediately brought him back to his youth, when he was
                                           obsessed with a 2002 TV series called Push, Nevada, which allowed viewers to
                                           try and solve a real-life mystery that carried a million-dollar prize. Stuef also got
                                           caught up in a book by magician David Blaine, Mysterious Stranger, which
                                           combined autobiography with a treasure hunt and offered a $100,000 prize.


                                           Over time, those teenage dreams of adventure receded, and Stuef went on to
                                           attend Georgetown University, where he served as editor in chief of the
                                           Georgetown Heckler, a campus humor magazine. He graduated in December
                                           2009 and began a career as a writer, both in humor—he worked for the Onion—
                                           and in more traditional media. He became embroiled in a few controversies early
                                           in his career, both at Wonkette, which he left after he made what Poynter
                                           describes as “a tasteless joke about one of Sarah Palin’s children having Down
                                           Syndrome,” and while freelancing for Buzzfeed, which had to apologize after an
                                           article Stuef wrote incorrectly painted a popular internet cartoonist as a hard-line
                                           Republican. He left the media business soon after.


                                           “I don’t think those were giant incidents,” Stuef says. “I regret them, but I don’t
                                           think about them very often. It was a long time ago now.”


                                           He soon entered a postbaccalaureate program, and then enrolled in medical
                                           school. But he disliked most everything about medicine beyond treating patients,
                                           he says, and something else captured his attention: Fenn’s chase. He was soon
                                           reading the hunter blogs to learn the basics, and he bought Fenn’s memoir, The
                                           Thrill of the Chase, before diving into as much primary source material as he
                                           could find. His method was to devour every Fenn interview, doing anything he
                                           could to hear and absorb his words directly, in an effort to better understand the
                                           man’s personality and motivations.


                                           As the hunt took up more and more of his time, Stuef mostly kept the extent of
                                           his pursuit hidden from friends and family. He didn’t think they would
                                           understand.


                                           “I think I got a little embarrassed by how obsessed I was with it,” Stuef says. “If I
                                           didn’t find it, I would look kind of like an idiot. And maybe I didn’t want to admit
                                           to myself what a hold it had on me.”


                                           Two years later, he had achieved what so many other searchers could not, finding
                                           and claiming Fenn’s treasure. (Stuef’s status as the finder was independently
                                           verified with the Fenn family.) He retrieved the chest on Saturday, June 6, 2020,
                                           in Wyoming, and began the long drive down to Santa Fe to deliver it to Fenn that
                                           same day. That evening, news of the find was already beginning to come out, as
                                           Fenn believed it must. “‘We should let [searchers] know as soon as you have it,’”
                                           Stuef says Fenn told him.


                                           “His thought was that, as soon as it’s out of place, we need to let people know,”
                                           Stuef says. “People have died. There could be issues.”




            Forrest Fenn at his Santa Fe home in 2014 (Photo: Luis Sanchez Saturno/Santa Fe New Mexican via AP)



                                           Stuef asked Fenn, though, that he be allowed to remain anonymous, and they
                                           both seemed to agree that the location of the find should be kept secret.


                                           But controversy quickly swirled, as many hunters, unsatisfied with the lack of
                                           disclosure, decided this meant that something nefarious was afoot—that Fenn
                                           had never really hidden the treasure, or that he had unilaterally ended the hunt
                                           without a real finder. The backlash took Fenn by surprise, according to those
                                           around him. To address it, several weeks after the find, he released photos of the
                                           chest and of himself going through it after Stuef delivered it to Santa Fe, which
                                           provided enough confirmation for some. In July, Fenn suggested to Stuef that
                                           they also reveal the state where the treasure was found, in order to give further
                                           closure to some hunters. Stuef agreed.




                                           Beyond that, though, he remained silent, and might have stayed that way for
                                           some time.


                                           And then Forrest Fenn died.




                                           On September 23, two weeks after Fenn passed away in his home at age 90, a
                                           post surfaced on Medium, a platform that allows users to self-publish essays and
                                           other writing, anonymously if they choose. Called “A Remembrance of Forrest
                                           Fenn,” it carried the byline “The Finder,” along with a bio that declared: “The
                                           author is the finder and owner of the Forrest Fenn Treasure.”


                                           In 3,000 well-crafted words, the finder penned an ode to Fenn, who he described
                                           as his friend, even though he’d only known him briefly.


                                           “I am the person who found Forrest’s famed treasure,” he wrote. “The moment it
                                           happened was not the triumphant Hollywood ending some surely envisioned; it
                                           just felt like I had just survived something and was fortunate to come out the
                                           other end.”


                                           In his essay, the finder revealed a great deal about the circumstances under
                                           which he had discovered the treasure—but, crucially, he would not divulge
                                           exactly where he had located it, and said he didn’t plan to. He was also careful
                                           not to let any details about his own identity slip, indicating only that he was a
                                           millennial and had student loans to pay off. Beyond that, he was an enigma.


                                           He explained that in 2018 he had figured out the location where the longtime
                                           Santa Fe art dealer and former fighter pilot wished to die, and then spent a
                                           combined 25 days over the next two years searching the general area until he
                                           finally located the treasure. He said that, to find the solution, he’d carefully
                                           listened to things Fenn had said in interviews, finding a few crucial crumbs.


                                           “[Fenn] never made more than a couple of subtle slip-ups in front of all the
                                           dogged reporters who came to his house, and even those apparently haven’t been
                                           caught by anyone besides me,” the finder wrote.


                                           He included pictures of the chest, some of them taken in the wilderness shortly
                                           after the treasure was found, others taken at what was assumed to be a lawyer’s
                                           office, showing Fenn examining the chest.


                                           Still, there were doubters. Many searchers refused to believe that the Medium
                                           post was written by the true finder, and suggested it was fraudulent—perhaps
                                           written by Fenn’s grandson, Shiloh Old, or by his professional writer pal, Douglas
                                           Preston, or even by Fenn himself before his death, intended to be released
                                           posthumously.


                                           But I didn’t think any of that. In fact, after finishing the essay, I was pretty
                                           certain it was all real. And although the finder wrote that he would eventually
                                           answer more questions, the journalist in me didn’t particularly want to wait, or to
                                           leave what he answered up to him alone.


                                           So I reached out.


                                           Medium doesn’t generally allow readers to directly contact the author of a piece,
                                           which is one reason it’s good for anonymous posting. It does allow users to post
                                           public comments, and more than 100 people quickly did that, most of them
                                           supportive, some skeptical, a few angry and aggressive. But I wasn’t going to just
                                           post my email address in the comments, where anyone could read it. Doing that
                                           left me no guarantee that the person I might end up in contact with would be the
                                           finder.


                                           I had one trick up my sleeve, though. There’s a little-known way to send a direct
                                           message to the author of a Medium story: you flag a section of text, indicating
                                           that it contains an error or typo. This notifies the author that something needs to
                                           be corrected. The system doesn’t give you a lot of space, just enough to describe
                                           the problem. So I flagged a section, barely squeezed in who I was and my email
                                           address, and hoped for the best. I had no assurances that the finder would look at
                                           the message, or that he would understand exactly why he should get in touch. But
                                           it was worth a shot.


                                           Less than a day later, an email popped into my in-box. The finder had replied.
                                           He’d heard of my book project, he said, and he might be willing to talk to me.


                                           And so began months of back-and-forth, sometimes involving several emails a
                                           day. It didn’t really matter that I didn’t know who the finder was for most of that
                                           time. I hung on every detail, every minor revelation he offered up about the
                                           treasure that had occupied me for so long.




                                           Last week, after a lull in our ongoing conversation, the finder emailed again,
                                           explaining that one of the court cases surrounding the find had taken an
                                           unexpected turn, and his name was likely to come out as part of the process. So
                                           he told me who he was, and gave me permission to tell the world.


                                           The case that prompted him to step from behind the curtain was brought by a
                                           Chicago real estate attorney named Barbara Andersen, who alleges that the
                                           unknown finder of the treasure had located it by hacking her texts and emails
                                           and stealing her solve. She believed the treasure was in New Mexico.


                                           Stuef says he never met nor heard of Andersen before the suit; he denies her
                                           charges and says the treasure was nowhere near New Mexico. That has not
                                           stopped a New Mexico federal court judge from allowing the suit to proceed. Last
                                           week, Stuef learned that, as a result of Fenn’s death, the subpoena against Fenn
                                           would be transferred to his heirs and estate, which is in possession of Stuef’s
                                           information. This should allow Andersen to refile her suit, naming Stuef as a
                                           defendant.


                                           Stuef had expected that finding the chest would bring some level of blowback,
                                           that his possession of an item desired by so many makes him a target.


                                           “I thought that whoever found the chest would be absolutely hated, because it
                                           ends everyone’s dream,” he says. “That’s something of a burden. I realize I put an
                                           end to something that meant so much to so many people.”


                                           But even if he anticipated challenges to his find, being a subject of a lawsuit has
                                           been an unsettling experience.


                                           “I always thought that, based on people suing Forrest in the past, it was
                                           something that could happen,” Stuef says.


                                           This treasure hunt has never been easy on its participants; Fenn and his family
                                           experienced a great deal of harassment from searchers who went too far during
                                           the years the hunt was active—everything from stalking to threats to a break-in at
                                           Fenn’s home in Santa Fe. This is why Stuef hoped to remain anonymous, and
                                           why, even now, with his name known, he won’t disclose where he’s living.


                                           Many searchers I’ve talked to appreciate his desire for anonymity, and I
                                           understand it as well. But one thing many searchers have a harder time grasping
                                           is Stuef’s decision to withhold where he found the treasure, even though the chest
                                           has since been removed.


                                           People have died looking for the chest. Others have gone bankrupt. Many more
                                           have spent countless hours in search of it, and they want some degree of
                                           resolution. On our various excursions out West, my search partner and I both
                                           found ourselves a little too obsessed at points, and it took its toll. There are real
                                           human costs to this search, and knowing the final location could offer the desired
                                           sense of closure so many are now seeking.


                                           Stuef says he’s sympathetic to those feelings.


                                           “This is the most difficult question to answer, because I know there’s so many
                                           people who just want to know. They worked on this for a long time. And they just
                                           want to be handed the answer. I totally understand that. But doing that, I think,
                                           is a death sentence to this special place.”


                                           Stuef fears that Fenn’s spot, if revealed, will become a pilgrimage site for Fenn
                                           devotees.


                                           “It’s not an appropriate place to become a tourist destination. It has huge
                                           meaning to Forrest, and I don’t want to see it destroyed,” Stuef says. “And as
                                           much as I tried not to develop an attachment to the place, eventually I did, as
                                           well. I had whole days out there looking, and I would take a nap in the afternoon
                                           every day, as I said on Medium, under the pine trees. It was very peaceful for
                                           me.”


                                           Stuef is trying to find a balance between the various entities, because he feels
                                           responsible to all of them. To the search community and its desire to know the
                                           whole truth; to himself and his sense of what is right; to nature and this peaceful
                                           spot, which he does not want to see ruined; and to Fenn. Ultimately, Stuef
                                           believes he’s being consistent with what Fenn wanted when he was alive, and
                                           honoring his legacy.


                                           “He didn’t want to see it turned into a tourist attraction,” Stuef says of the
                                           treasure site. “We thought it was not appropriate for that to happen. He was
                                           willing to go to great lengths, very great lengths, to avoid ever having to tell the
                                           location.”



                                           Daniel Barbarisi's new book on the Forrest Fenn treasure hunt will be published in June 2021.



                                           Because of his stand, talking to Stuef can be maddening at times. For my book,
                                           I’ve interviewed him about his solve, discussed the process he used to come up
                                           with it, and chronicled the various searches he went on as he sought the exact
                                           spot, learning fascinating tidbits in the process. For example, he’s told me that
                                           one reason it took him two years to retrieve the treasure, even after figuring out
                                           the general area in 2018, was that the “blaze”—Fenn’s all-important final clue,
                                           found out in the wilderness, intended to let a searcher know they’re in the exact
                                           right spot—had been damaged. He doesn’t mind being open with all of that. And
                                           yet there are still things he holds back or talks around, in order to make sure,
                                           even now, that no one can figure out the precise location.




                                           Still, listening to Stuef talk about it, he makes it seem so attainable, so simple:
                                           that the key was really just understanding Forrest Fenn. Stuef hunted solo, never
                                           discussed his search with others, stayed away from the blogs after his initial looks
                                           at them, and tried hard not to get caught up in any groupthink. He did his utmost
                                           just to focus on Fenn’s words and primary sources, and understand those as best
                                           he could.


                                           “I don’t want to ruin this treasure hunt by saying it was made for an English
                                           major, but it’s based on a close read of a text,” Stuef says. “I mean, that’s what it
                                           is. It’s having the correct interpretation of a poem. I understood him by reading
                                           his words, and listening to him talk over and over and over and over again. And
                                           seeking out anything I could get my hands on that told me who he was.”


                                           When asked if figuring out the puzzles required the use of anagrams, or GPS
                                           coordinates, or sophisticated codes of any sort, Stuef was clear in his response.


                                           “No,” he says. “But I don’t want to say that people are stupid for thinking those
                                           things were valid, or that they were being irrational. I think Forrest designed this
                                           to be fun, and whatever people got out of it, that gave them fun, I think, to me, is
                                           rational. And they were doing it right, in that way.”


                                           The solution, Stuef says, is tied far more to understanding Fenn’s emotions, and
                                           to a close examination of the poem itself, than to puzzle-solving skills. Fenn
                                           simply didn’t care about those kinds of things. He was more interested in
                                           adventure, legacy, history, narrative.


                                           “There was no reason to think that those things would be something he was
                                           interested in, or had any experience in,” Stuef says. “I mean, he was coming to
                                           this not from the perspective of being a huge fan of puzzles or a puzzle master.
                                           He was not a fan of armchair treasure hunts. His point of reference was pirates!
                                           His purpose was not to create a great puzzle and show everyone how smart and
                                           slick he was. His purpose was this weird idea to entomb himself. And to create a
                                           historic legend. None of that supports armchair solutions. And he was open
                                           about that.”


                                           So far, ownership of the chest has not made Stuef a rich man. He has not sold it
                                           yet, has not even had it appraised, but the expected windfall has allowed him to
                                           quit worrying about repaying his student loans for medical school. With that in
                                           mind, he has decided to leave the profession before becoming a practicing doctor,
                                           and may move into equities investing next.


                                           “I was kind of in this sunk-cost-fallacy dead end with that, where I didn’t want to
                                           quit, because I didn’t know what else to do,” he says. “I didn’t know how to pay
                                           off my loans if I didn’t become a doctor. [The chest] was kind of my lifeline.”


                                           Once the time is right, he still plans to sell the chest. When he does, he will try to
                                           honor a “final wish” of Fenn’s: to have the chest end up in a specific place where
                                           searchers can view it, though he declined to say exactly where.


                                           “Before he died, he was going to try to help me with getting a certain party to buy
                                           it,” Stuef says. “And I think his hope was that it would be able to be displayed. …
                                           And so that’s my first step. After that, I think I would probably try and sell to the
                                           public.”


                                           If it gets that far, he’s unsure whether it would be best to sell it as a complete
                                           package, or to break it up, allowing individual searchers to own a piece of Fenn’s
                                           treasure.


                                           “I’d guess we kind of try and test the market in some way to see what it would sell
                                           for all together, because there’s a good chance it’s worth more all together, as the
                                           Fenn treasure,” Stuef says. “But, you know, it’s possible. There are a lot of
                                           searchers out there who would want maybe one item in there, they couldn’t
                                           afford the whole thing, but it would mean a lot to them to have one item. So it is
                                           still possible to break out.”


                                           With the chest located, one part of the treasure hunt is finished now—the chase,
                                           the part that obsessed all of us and pushed us to places we maybe shouldn’t have
                                           been. But the story has not ended. So many people have a stake in this hunt, it
                                           means so much to so many, that the tale didn’t, and doesn’t, end with a man
                                           finding a treasure chest.


                                           That, in so many ways, is just opening up the box.


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